      Case 1:21-mc-00095-AW-GRJ Document 8 Filed 09/13/21 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


DAN-BUNKERING (AMERICA), INC.                )
                                             )       CASE NO. 1:21-mc-95-AW-GRJ
              Plaintiff,                     )
                                             )
V.                                           )
                                             )
JCHOR OIL, LLC, et al. ,                     )
                                             )
       Defendants and Garnishees,            )


                       RESPONSE OF GARNISHEE PNC BANK, N.A.
                             TO WRIT OF GARNISHMENT


       PNC Bank, N.A. ("PNC") responds to Plaintiff's Writ of Garnishment served on PNC on

September 9, 2021 as follows : PNC Bank is currently holding the account of Defendant/

Garnishee, B & G Futures, Inc. with a current balance of $103 ,290.39.

       I declare under penalty of perjury that the foregoing is true and correct.




Date: September 10, 2021
                                                     Amy Sanovich, Bank Officer




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                               CERTIFICATE OF SERVICE

       Garnishee' s Response to the Writ of Garnishment was served via Federal Express on

September 10, 2021 to the following:


United States District Court
Northern District of Florida
Gainesville Division
ATTN: Clerk of Civil Court
United States Courthouse
401 SE First Avenue
Gainesville, Florida 32601
(352) 380-2400


J. Stephen Simms, Esq.
Simms Showers LLP
201 International Circle
Suite 230
Baltimore, MD 21030
(443) 290-8704
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